       Case 6:21-cv-00043-ADA-JCM Document 6-4 Filed 01/21/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                WACO DIVISON


LATINOS FOR TRUMP, BLACKS               §
FOR TRUMP, JOSHUA MACIAS,               §
M.S., B. G., J.B., J.J.,                §
                                        §
        Plaintiffs.                     §
                                        §
                                        §

v.                                      §     CIVIL ACTION NO. 6:21-CV-43
                                        §

PETE SESSIONS, MITCH                    §
McCONNELL, NANCY PELOSI,                §
MARK ZUCKERBERG, CHUCK                  §
SCHUMER, ALEXANDRIA                     §
OCASIO-CORTEZ, BRAD                     §
RAFFENSPERGER, ALL                      §
MEMBERS OF THE 117TH U.S.               §     JURY TRIAL REQUESTED
CONGRESS, et al.,

        Defendants.


                 SECOND DECLARATION OF JOSHUA MACIAS

        My name is Joshua Macias, I am competent to make this Declaration as

follows. I declare and verify under penalty of perjury the following statement:

     1. “On January 18, 2021, I spoke to a member of the legal team bringing this

        lawsuit. I informed this person that I voted in the 2020 election for U.S.

        Congress and the House of Representative, and that I would be happy to join

        the lawsuit as a Plaintiff.
  Case 6:21-cv-00043-ADA-JCM Document 6-4 Filed 01/21/21 Page 2 of 2




2. I then spoke at length to this person about the organization I help start in the

   state of North Carolina known as “Vets for Trump.”

3. I then authorized the team member to provide my electronic signature on a

   declaration under penalty of perjury that I voted in the 2020 election, and

   stated that I would physically sign a copy, if necessary.

4. My understanding is that my extensive statements about my activities in

   North Carolina created a confusing situation where this member of the legal

   team believed I had stated I had voted in the state of North Carolina. I live

   very close to the Virginia-North Carolina border, so I spend much of my time

   in North Carolina, including my previous activities in helping to launch Vets

   for Trump.

5. It appears that this this miscommunication between myself and my legal

   team led to the misstatement of fact in my Declaration.

6. Accordingly, I now make this Second Declaration to clarify that I voted in the

   The 2020 federal election in Virginia for the U.S. House of Representatives

   and U.S. Senate.

7. I am providing my physical signature below to clarify this unintentional

   miscommunication.”


                                    Joshua Macias
